         Case 2:21-cv-01326-TSZ Document 71 Filed 08/05/22 Page 1 of 1




         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE

       PROJECT VERITAS,                                 JUDGMENT IN A CIVIL CASE

                             Plaintiff,                 CASE NO. C21-1326 TSZ

              v.

       LELAND STANFORD JUNIOR
       UNIVERSITY; and UNIVERSITY OF
       WASHINGTON,

                             Defendants.

       Jury Verdict. This action came before the court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

 X     Decision by Court. This action came on for consideration before the court. The issues
       have been considered and a decision has been rendered.

       THE COURT HAS ORDERED THAT

The Motion to Dismiss, docket no. 40, filed by Defendant University of Washington (“UW”),
and joined by Defendant Leland Stanford Junior University (“Stanford”), is GRANTED and this
case is DISMISSED with prejudice and without leave to amend. The Motion for Special
Expedited Relief under Washington’s Uniform Public Expression Protection Act (“UPEPA”),
docket no. 37, filed by Stanford is GRANTED. UW’s Motion under UPEPA, which UW made
by joining in Stanford’s motion, is DENIED. Project Veritas’s claims are DISMISSED with
prejudice, and judgment is hereby ENTERED in favor of Defendants. The Court further
GRANTS Stanford’s Motion for Attorney Fees, docket no. 60, and AWARDS Stanford its
reasonable attorney fees in the amount of $149,596.90. Defendants may tax costs in the manner
set forth in Local Civil Rule 54(d).

       Dated this 5th day of August, 2022.



                                                    Ravi Subramanian
                                                    Clerk

                                                    s/Gail Glass
                                                    Deputy Clerk
